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8                          UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
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11   JOHN POTTER,                               )    Case No.: SA CV 14-0837-DOC (ANx)
                                                )
12                      Plaintiff,              )    Hon. David O. Carter, Judge
                                                )
13          v.                                  )    AMENDED JUDGMENT
                                                )
14   BLUE SHIELD OF CALIFORNIA                  )
     LIFE AND HEALTH INSURANCE                  )    Hearing:           June 12, 2017
15   COMPANY,                                   )    Time:              8:30 a.m.
                                                )    Courtroom:         9D, Santa Ana
16                                              )
                                                )    Action filed:      June 3, 2014
17                      Defendant.              )
                                                )
18                                              )
                                                )
19                                              )
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21         This ERISA action was filed on June 2, 2014, seeking payment of benefits for
22   the treatment of Plaintiff’s son from June 1, 2012 through December 13, 2012.
23         On July 22, 2015, this Court ordered the matter remanded to Defendant to
24   consider additional medical records and complete a full and fair review of Plaintiff’s
25   claims. On December 15, 2015, Defendant determined that it would pay benefits for
26   dates of service June 1, 2012 through June 30, 2012.
27         On January 29, 2016, Plaintiff filed his Second Amended Complaint, seeking
28   benefits for treatment received from July 1, 2012 through December 13, 2012.


                                     AMENDED JUDGMENT
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1          After bench trial, this Court entered its Findings of Fact and Conclusions of
2    Law on April 7, 2017, concluding that no further benefits should be paid by
3    Defendant.
4          Thus, pursuant to the Court’s Findings of Fact and Conclusions of Law, dated
5    April 7, 2017, judgment is hereby entered in favor of Defendant Blue Shield of
6    California Life & Health Insurance Company and against Plaintiff John Potter.
7          IT IS SO ORDERED.
8
     Date: June 27, 2017                   _________________________________
9                                          Honorable David O. Carter
                                           Judge, United States District Court
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                            [PROPOSED] AMENDED JUDGMENT
